Case 6:20-cr-00015-JDK-JDL Document 22 Filed 09/24/20 Page 1 of 2 PageID #: 44




                          IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

 UNITED STATES OF AMERICA,                        §
                                                  §
                                                  § CASE NUMBER 6:20-CR-00015-JDK
 v.                                               §
                                                  §
                                                  §
 GUADALUPE MATIAS CERVANTES-                      §
 ROMERO,                                          §


            FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                 BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to 28 U.S.C. ' 636(b), this matter has been referred by the District Court for

administration of a plea of guilty under Rule 11 of the Federal Rules of Criminal Procedure.

       On September 24, 2020, this cause came before the undersigned United States Magistrate

Judge for a plea of guilty to an Indictment charging the Defendant in Count One with a violation

of Title 8 U.S.C. § 1326(a) and (b) - Reentry of a Deported Alien. After conducting said

proceeding in the form and manner prescribed by Federal Criminal Procedure Rule 11, the

undersigned finds that:

       a.      the Defendant, after consultation with counsel of record, has knowingly and

voluntarily consented to the administration of the Guilty Plea in this cause by a United States

Magistrate Judge, subject to a final acceptance and imposition of sentence by the District Judge;

       b.      the Defendant and the government have entered into a plea agreement which has

been filed and disclosed in open court pursuant to Federal Rule of Criminal Procedure Rule

11(c)(2);

       c.      the Defendant is fully competent and capable of entering an informed plea, that the

Defendant is aware of the nature of the charges, the maximum penalties, and the consequences of
Case 6:20-cr-00015-JDK-JDL Document 22 Filed 09/24/20 Page 2 of 2 PageID #: 45




the plea, and that the plea of guilty is a knowing and voluntary plea supported by an independent

basis in fact containing each of the essential elements of the offense; and

       d.      the Defendant understands each of the constitutional and statutory rights

enumerated in Rule 11(b)and wishes to waive these rights, including the right to a trial by jury.

       IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

and the Guilty Plea of the Defendant and that GUADALUPE MATIAS CERVANTES-

ROMERO should be finally adjudged guilty of that offense.

       Defendant has waived his right to object to the findings of the Magistrate Judge in this

matter so the Court will present this Report and Recommendation to District Judge Jeremy D.

Kernodle for adoption immediately upon issuance.




      So ORDERED and SIGNED this 24th day of September, 2020.
